                             Case 20-11218-MFW                       Doc 1        Filed 05/22/20            Page 1 of 27

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 District of 'HODZDUH

 Case number (If known): _________________________ Chapter                                                                       Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                         The Hertz Corporation
                                           ______________________________________________________________________________________________________




 2.   All other names debtor used           Firefly, Hertz Car Sales, Hertz Rent-A-Car, Thrifty, Dollar Rent A Car, Thrifty Car Rental
                                           ______________________________________________________________________________________________________B
      in the last 8 years                  __BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                           __BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Include any assumed names,
      trade names, and doing business      __BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      as names




 3.   Debtor’s federal Employer             XX-XXXXXXX
      Identification Number (EIN)          ______________________________________




 4.   Debtor’s address                     Principal place of business                                   Mailing address, if different from principal place
                                                                                                         of business
                                           8501            Williams Road
                                           ______________________________________________                _______________________________________________
                                           Number     Street                                             Number     Street

                                           ______________________________________________                _______________________________________________
                                                                                                         P.O. Box
                                           Estero                            FL         33928
                                           ______________________________________________                _______________________________________________
                                           City                        State    ZIP Code                 City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                           Lee
                                           ______________________________________________
                                           Count\                                                        _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)               www.hertz.com
                                           ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                             Case 20-11218-MFW                   Doc 1       Filed 05/22/20             Page 2 of 27

Debtor         The Hertz Corporation
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5321
                                             ____________________________________

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                                Case 20-11218-MFW                Doc 1        Filed 05/22/20            Page 3 of 27

Debtor
               The Hertz Corporation
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
                                          ■

      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a                      See Schedule A
      business partner or an              Yes. Debtor _____________________________________________
                                          ■
                                                                                                     Relationship _________________________
      affiliate of the debtor?                              Delaware
                                                    District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                       Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          ■

                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                    It needs to be physically secured or protected from the weather.
                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                    Other _______________________________________________________________________________


                                                   Where is the property?_____________________________________________________________________
                                                                             Number         Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________        _______ ________________
                                                                             City                                           State ZIP Code


                                                   Is the property insured?

                                                    No
                                                    Yes. Insurance agency ____________________________________________________________________
                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




              Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
                             Case 20-11218-MFW                      Doc 1          Filed 05/22/20           Page 4 of 27

              The Hertz Corporation
Debtor       _______________________________________________________                              Case number (if known)_____________________________________
             Name




 13. Debtor’s estimation of                Check one:
     available funds                        Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                            1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                            50-99                              5,001-10,000                               50,001-100,000
     creditors *
                                            100-199                            10,001-25,000                              More than 100,000
                                            200-999

                                            $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets *
                                            $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                            $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities *
                                            $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion
*Represents consolidated financial information for the Debtor and its affiliated entities. This does not constitute a statement or admission as to the
creditors, assets, or liabilities of any of the debtor entities individually.

            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of          Q    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                                petition.
     debtor
                                           Q    I have been authorized to file this petition on behalf of the debtor.

                                           Q    I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              05 / 22 / 2020
                                               Executed on _________________
                                                           MM / DD / YYYY


                                           8 /s/ Jamere Jackson
                                                _____________________________________________
                                                                                                            Jamere Jackson
                                                                                                            _______________________________________________
                                               Signature of authorized representative of debtor             Printed name

                                                     Executive Vice President and Chief Financial Officer
                                               Title _________________________________________




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
                          Case 20-11218-MFW                    Doc 1         Filed 05/22/20         Page 5 of 27

Debtor       The Hertz Corporation
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      8 /s/ Mark D. Collins
                                          _____________________________________________            Date
                                                                                                               05 / 22 / 2020
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Mark D. Collins
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Richards, Layton & Finger, P.A.
                                         _________________________________________________________________________________________________
                                         Firm name
                                         920         North King Street
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          Wilmington
                                         ____________________________________________________             DE
                                                                                                         ____________  19801
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (302) 651-7700
                                         ____________________________________                             collins@rlf.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          2981
                                         ______________________________________________________  Delaware
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
                     Case 20-11218-MFW          Doc 1        Filed 05/22/20             Page 6 of 27

 Official Form 201A (12/15)


                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re                                                                Chapter 11

The Hertz Corporation,                                               Case No. 20-[____] ( )

                                                                     (Joint Administration Requested)
                                     Debtor.


                        Attachment to Voluntary Petition for Non-Individuals
                              Filing for Bankruptcy under Chapter 11

    1. If any of the debtor’s securities are registered under Section 12 of the Securities
Exchange Act of 1934, the SEC file number is 001-07541.

    2. The following financial data is the latest available information and refers to the debtor’s
condition on March 31, 2020.

          a. Total assets                                                                               $ 25,842,000,000

          b. Total debts (including debts listed in 2.c., below)                                        $ 24,355,000,000

          c. Debt securities held by more than 500 holders
                                                                                                        Approximate
                                                                                                        number of holders:
          secured        unsecured    subordinated           $   350,000,000                            Unknown
          secured        unsecured    subordinated           $   500,000,000                            Unknown
          secured        unsecured    subordinated           $   800,000,000                            Unknown
          secured        unsecured    subordinated           $   500,000,000                            Unknown
          secured        unsecured    subordinated           $   900,000,000                            Unknown

          d.     Number of shares of preferred stock                                                    0

          e.     Number of shares common stock                                                          100

          Comments, if any: Total assets and total debts listed above are in accordance with the
Debtor’s unaudited financial statements as of March 31, 2020, as set forth in the Debtor’s Form
10-Q filed on May 11, 2020. The Debtor’s Form 10-Q lists the consolidated total assets and total
liabilities of the Debtor and its subsidiaries, with all intercompany transactions eliminated in
consolidation. The shares of common stock listed above are those outstanding as of May 4,
2020, as set forth in the Debtor’s Form 10-Q. The Debtor is not able to ascertain the number of
holders of any of the debt securities it has issued.




Official Form 201A                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                     Case 20-11218-MFW                  Doc 1        Filed 05/22/20             Page 7 of 27

 Official Form 201A (12/15)


     3. Brief description of the debtor’s business: The Debtors operate one of the largest
worldwide vehicle rental companies under the Hertz, Dollar, and Thrifty brands, with car rental
locations in North America, Europe, Latin America, Africa, Asia, Australia, the Caribbean,
the Middle East and New Zealand. The Debtors also operate a vehicle leasing and fleet
management solutions business.

      4. List the names of any person who directly or indirectly owns, controls, or holds, with
power to vote, 5% or more of the voting securities of the debtor: Carl C. Icahn and certain
affiliates 1, Dimensional Fund Advisors LP, Renaissance Technologies, LLC 2, GAMCO
Investors, Inc. and certain affiliates 3, The Vanguard Group, BlackRock, Inc., and PAR
Investment Partners, L.P. 4 own five percent (5%) or more of the voting securities of Hertz
Global Holdings, Inc. Hertz Global Holdings, Inc. owns one hundred percent (100%) of the
equity interests of Rental Car Intermediate Holdings, LLC, which in turn owns one hundred
percent (100%) of the equity interests of The Hertz Corporation.




1 T o the Debtor’s knowledge Mr. Icahn, Icahn Partners LP, Icahn Master Fund LP, High River Limited Partnership, Icahn

Onshore LP, Icahn Capital LP, IPH GP LLC, Icahn Enterprises Holdings L.P., Icahn Enterprises G.P. Inc., Beckton Corp., Ica h n
Offshore LP, Hopper Investments LLC and Barberry Corp. are each deemed to have beneficial ownership, as such term is
defined for purposes of Rule 13d-3 promulgated under the Securities Exchange Act of 1934, as amended (“ Rule 13d-3”), over a ll
shares that are held directly by the following entities: Icahn Partners LP, Icahn Master Fund LP and High River Limited
Partnership.

2 T o the Debtor’s knowledge, Renaissance T echnologies Holdings Corporation holds majority ownership of Renaissance

T echnologies LLC and is deemed to have beneficial ownership, as such term is defined for purposes of Rule 13d-3, of all shares
held directly by Renaissance T echnologies LLC.

3 T o the Debtor’s knowledge, Mario J. Gabelli and certain entities affiliated with Mr. Gabelli are deemed to have beneficial

ownership, as such term is defined for purposes of Rule 13d-3, over more than 5% of the outstanding common shares of Hertz
Global Holdings, Inc. However, Mr. Gabelli and such affiliated entities hold the power to vote with respect to fewer than 5 % o f
the outstanding common shares of Hertz Global Holdings, Inc. GAMCO Investors, Inc., Mr. Gabelli, Associated Capital Gr o up ,
Inc., Gabelli Foundation, Inc. and GGCP Inc., are each deemed to have beneficial ownership over all shares that are held direct ly
by the following entities: Associated Capital Group, Inc., Gabelli Funds, LLC, GAMCO Asset Management Inc., GGCP, Inc.,
Gabelli Foundation, Inc. and MJG Associates, Inc.

4 T o the Debtor’s knowledge, (i) PAR Group II, L.P. and PAR Capital Management, Inc. are each deemed to have beneficial

ownership, as such term is defined for purposes of Rule 13d-3, of all shares held directly by PAR Investment Partners, L.P . ; ( ii)
PAR Group II, L.P. is the sole general partner of PAR Investment Partners, L.P.; and (iii) PAR Capital Management, In c . is t h e
sole general partner of PAR Group II L.P.




Official Form 201A                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
               Case 20-11218-MFW          Doc 1     Filed 05/22/20      Page 8 of 27




                                          Schedule A
                                  SCHEDULE OF DEBTORS

On the date hereof, each of the affiliated entities listed below (including the debtor in this chapter
11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101 et seq., as amended. Substantially contemporaneously with the filing of
these petitions, these entities filed a motion requesting that their respective chapter 11 cases be
jointly administered for procedural purposes only.

                                                   EMPLOYER/CORPORATE
                        DEBTOR                         IDENTIFICATION  J URIS DICTION
                                                          NUMBER
 1.     CMGC Canada Acquisition ULC                822418471RC0001    Canada
 2.     Dollar Rent A Car, Inc.                    XX-XXXXXXX         United States
 3.     Dollar Thrifty Automotive Group            106533326RC0001    Canada
        Canada Inc.
 4.     Dollar Thrifty Automotive Group, Inc.      XX-XXXXXXX                   United States
 5.     Donlen Corporation                         XX-XXXXXXX                   United States
 6.     Donlen Fleet Leasing Ltd.                  136785763RC0001              Canada
 7.     Donlen FSHCO Company                       XX-XXXXXXX                   United States
 8.     Donlen Mobility Solutions, Inc.            XX-XXXXXXX                   United States
 9.     DTG Canada Corp.                           887612711RC0001              Canada
 10.    DTG Operations, Inc.                       XX-XXXXXXX                   United States
 11.    DTG Supply, LLC                            XX-XXXXXXX                   United States
 12.    Firefly Rent A Car LLC                     XX-XXXXXXX                   United States
 13.    Hertz Aircraft, LLC                        XX-XXXXXXX                   United States
 14.    Hertz Canada Limited                       102337847RC0001              Canada
 15.    Hertz Car Sales LLC                        XX-XXXXXXX                   United States
 16.    Hertz Global Holdings, Inc.                XX-XXXXXXX                   United States
 17.    Hertz Global Services Corporation          XX-XXXXXXX                   United States
 18.    Hertz Local Edition Corp.                  XX-XXXXXXX                   United States
 19.    Hertz Local Edition Transporting, Inc.     XX-XXXXXXX                   United States
 20.    Hertz System, Inc.                         XX-XXXXXXX                   United States
 21.    Hertz Technologies, Inc.                   XX-XXXXXXX                   United States
 22.    Hertz Transporting, Inc.                   XX-XXXXXXX                   United States
 23.    Rental Car Group Company, LLC              XX-XXXXXXX                   United States
 24.    Rental Car Intermediate Holdings,          XX-XXXXXXX                   United States
        LLC
 25.    Smartz Vehicle Rental Corporation          XX-XXXXXXX                   United States
 26.    The Hertz Corporation                      XX-XXXXXXX                   United States
 27.    Thrifty Car Sales, Inc.                    XX-XXXXXXX                   United States
 28.    Thrifty Rent-A-Car System, LLC             XX-XXXXXXX                   United States
 29.    Thrifty, LLC                               XX-XXXXXXX                   United States
 30.    TRAC Asia Pacific, Inc.                    XX-XXXXXXX                   United States
              Case 20-11218-MFW          Doc 1    Filed 05/22/20     Page 9 of 27




                              SECRETARY’S CERTIFICATE

                                         May 22, 2020

The undersigned, M. David Galainena, solely in his capacity as Secretary of The Hertz Corporation
(the “Debtor”), and not in an individual capacity, hereby certifies that:

   a) the resolutions attached hereto were duly adopted at a special meeting of the Board of
      Directors of the Debtor (the “Board”) held on May 22, 2020, in accordance with the
      requirements of the Delaware General Corporation Law and the Debtor’s charter and
      bylaws;

   b) the attached resolutions are true, complete and correct as they appear;

   c) the attached resolutions have not been modified, amended, annulled, rescinded or revoked
      and are still in full force and effect as of the date hereof; and

   d) there exists no other subsequent resolution of the Board relating to the matters set forth in
      the resolutions attached hereto.

IN WITNESS WHEREOF, the undersigned has executed this certificate as of the date first set
forth above.



                                                    By:    /s/ M. David Galainena________
                                                    Name: M. David Galainena
                                                    Title: Executive Vice President, General
                                                           Counsel and Secretary
              Case 20-11218-MFW           Doc 1        Filed 05/22/20   Page 10 of 27




                              HERTZ GLOBAL HOLDINGS, INC.
                                THE HERTZ CORPORATION

                           RESOLUTIONS ADOPTED AT
              JOINT SPECIAL MEETING OF BOARDS OF DIRECTORS
                              HELD ON MAY 22, 2020
            __________________________________________________________

WHEREAS, Hertz Global Holdings, Inc. (“Holdings”) and The Hertz Corporation (“Hertz”), each
a Delaware corporation (each a “Corporation” and together, the “Corporations”) and their
subsidiaries have experienced a rapid, sudden and dramatic negative impact on their businesses
from the Covid-19 pandemic and there is significant uncertainty about the timing and strength of
a recovery in the travel industry and in the Corporations’ business in the coming weeks and
months;
WHEREAS, notwithstanding the significant actions the Corporations have taken to reduce
expenses in light of the downturn in business, revenue declines have outpaced cost reductions and,
in light of the uncertainty in the timing and strength of any recovery and the significant negative
impact on the marketability of used vehicles, there is and likely will continue to be, significant
strain on the Corporations’ liquidity and downward pressure on the residual value of the vehicles
which support certain financings of the Corporations in the coming weeks and months;
WHEREAS, the Corporations have made significant efforts to seek access to the capital markets
to provide additional liquidity through this challenging economic downturn, but the capital markets
are currently unavailable to the Corporations and it is unclear when or if such access may become
available;
WHEREAS, to preserve liquidity, on April 27, 2020, the Boards of Directors (together, the
“Boards”) of the Corporations authorized and directed Hertz and its subsidiaries to withhold the
payments due on April 27, 2020 under the master motor vehicle operating lease (the “Lease”) with
Hertz Vehicle Financing LLC (“HVF”) (together, the “Lease Payment”), including a payment of
the HVF II Group I Aggregate Asset Amount Deficiency (as defined in the Lease), and to withhold
reimbursement payments pursuant to any letters of credit that may have been drawn as a result of
the failure to make the Lease Payment;
WHEREAS, following April 30, 2020, the failure to pay certain components of the Lease Payment
caused an amortization event under the supplement (the “VFN Supplement”) relating to the vehicle
variable funding notes (the “VFN Notes”) issued by Hertz Vehicle Financing II LP (“HVF II”);
WHEREAS, on May 4, 2020, Hertz, HVF, HVF II and DTG Operations, Inc., a wholly-owned
indirect subsidiary of Hertz, entered into a forbearance agreement (the “Forbearance Agreement”)
with certain holders of the VFN Notes (the “VFN Noteholders”), pursuant to which the VFN
Noteholders agreed to forbear from exercising certain rights to direct the liquidation of the fleet of
vehicles which serve as collateral supporting the VFN Notes;
WHEREAS, concurrently with entering into the Forbearance Agreement, on May 4, 2020, Hertz
and certain of its subsidiaries entered into limited waiver agreements (collectively, the “Waiver
Agreements”) with certain of the lenders under its senior term loan facility, letter of credit facility,
alternate letter of credit facility and U.S. vehicle revolving credit facility (the “Senior Lenders”),


                                                   1
              Case 20-11218-MFW           Doc 1       Filed 05/22/20   Page 11 of 27



pursuant to which the Senior Lenders agreed to certain waivers and accommodations, including
with respect to events of default arising from Hertz’s failure to make the full Lease Payment;
WHEREAS, the Forbearance Agreement and the Waiver Agreements expire on the date hereof;
WHEREAS, the Corporations have been actively negotiating with the VFN Noteholders and the
Senior Lenders to extend the protections provided by the Forbearance Agreement and the Waiver
Agreements but, to date, no agreement has been reached to extend the protections provided by the
Forbearance Agreement or the Waiver Agreements or with respect to any alternative financing
strategy or structure;
WHEREAS, the Boards have been presented with proposed voluntary petitions (each, a
“Petition”) to be filed by Holdings and Hertz, respectively, in the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”) seeking relief under the provisions of chapter
11 of title 11 of the United States Code (the “Bankruptcy Code”), pursuant to which each of the
Corporations would operate as debtor-in-possession (the “Chapter 11 Cases”);
WHEREAS, the Boards have received numerous presentations from and sought the advice of the
Corporations’ management team as well as the financial and legal advisors to the Corporations
with respect to the issues described above and the Corporations’ current and forecasted liquid ity
position; and
WHEREAS, based on their review of all available alternatives and advice provided by such
advisors and professionals, the current lack of access to the capital markets, the downturn in the
Corporations’ business and the uncertainty regarding any recovery, the Boards deem it advisable
and in the best interest of each of the Corporations, their creditors, employees and other
stakeholders to take the actions specified in the following resolutions.
NOW THEREFORE, be it resolved as follows:
CHAPTER 11 CASES
RESOLVED, that each of the Corporations be, and each hereby is, authorized and directed to file
a Petition seeking relief under the provisions of chapter 11 of the Bankruptcy Code; and it is further
RESOLVED, that the Corporations’ Chief Executive Officer, Chief Financial Officer, Treasurer
and General Counsel (each, an “Authorized Officer”) be, and each hereby is, authorized and
directed, on behalf of and in the name of Holdings and Hertz, respectively, to execute and verify
each Petition in the name of Holdings and Hertz, respectively, under chapter 11 of the Bankruptcy
Code and to cause the same to be filed in the Bankruptcy Court in such form and at such time as
the Authorized Officer executing such Petition on behalf of each Corporation shall determine; and
it is further
RETENTION OF PROFESSIONALS
RESOLVED, that each of the Corporations is authorized, and each Authorized Officer be, and
each hereby is, authorized and directed, on behalf of and in the name of each Corporation, to retain
and employ professionals to render services to the Corporations in connection with the Chapter 11
Cases and the transactions contemplated by the foregoing resolutions, and that such professionals
shall include, without limitation: White & Case LLP to act as restructuring counsel and, if


                                                  2
              Case 20-11218-MFW           Doc 1       Filed 05/22/20   Page 12 of 27



applicable, as counsel to the Foreign Representative (as defined below); Richards, Layton &
Finger, PA to act as local Delaware restructuring counsel; Moelis & Company LLC to act as
investment banker and as financial advisor; FTI Consulting to act as financial advisor; and Prime
Clerk LLC to act as claims and noticing agent and administrative advisor; and in connection
herewith, each Authorized Officer is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed appropriate applications
for authority to retain the services of the foregoing; and it is further
RESOLVED, that each of the Corporations is authorized, and each Authorized Officer be, and
each hereby is, authorized and empowered and directed, in the name and on behalf of each
Corporation, to incur and pay or cause to be paid all such fees and expenses as in their judgment
shall be necessary, appropriate, or advisable to effectuate the purpose and intent of any and all of
the foregoing resolutions; and it is further
FOREIGN REPRESENTATIVE
RESOLVED, that Hertz shall act as foreign representative (the “Foreign Representative”) on
behalf of each of the Corporations’ estates in connection with such foreign proceedings as may be
necessary in any foreign country (each, a “Supporting Foreign Proceeding”) and Hertz shall be,
and it hereby is, authorized, and empowered, to (i) execute, verify and/or file, or cause to be filed
and/or executed and/or verified (or direct others to do so on its behalf as provided herein) all
necessary documents and prosecute all actions necessary to the appointment of the Foreign
Representative in respect of any such foreign proceedings, (ii) seek all relief available to a “foreign
representative” in any such Supporting Foreign Proceeding and any further relief that it deems
prudent and to take any and all actions on behalf of each of the Corporations (to the extent allowed
under applicable law) as it deems necessary to seek such relief, and (iii) act as each of the
Corporations’ agent (to the extent allowed under applicable law) in administering the
reorganization of each of the Corporations’ assets and affairs in any Supporting Foreign
Proceeding; and it is further
FURTHER AUTHORIZATIONS REGARDING                           THE CHAPTER          11    CASES     AND
SUPPORTING FOREIGN PROCEEDINGS
RESOLVED, that each of the Corporations is authorized, and each Authorized Officer acting in
consultation with the Corporations’ legal and financial advisors, be, and each hereby is, authorized
and empowered, on behalf of and in the name of Holdings and Hertz, respectively, to execute,
deliver, perform, verify, and/or file, or cause to be executed, delivered, performed, verified, and/or
filed (or direct others to do so on their behalf as provided herein) all necessary documents,
including, without limitation, all petitions, affidavits, statements, schedules, motions, lists,
applications and pleadings, and subject to the Corporations’ Transaction Approval Policy,
contracts, agreements, additional security documents, guarantees, reaffirmations, control
agreements, waivers of or amendments to existing documents, and, in connection with the
foregoing, to employ and retain all assistance by legal counsel and to take any and such other
action in furtherance of these resolutions which such Authorized Officer or Authorized Officers
deem necessary or proper in connection with the Chapter 11 Cases or any Supporting Foreign
Proceeding, including acting in consultation with the Corporations’ legal and financial advisors to
take any and all action necessary or proper in connection with obtaining authorization to use cash
collateral (in such amounts and on such terms as may be agreed by any Authorized Officer,


                                                  3
              Case 20-11218-MFW           Doc 1       Filed 05/22/20   Page 13 of 27



including the grant of replacement and additional liens, as is necessary or proper for the continuing
conduct of the affairs of Holdings and Hertz, respectively, and certain of their respective
subsidiaries and affiliates), with a view to the successful prosecution of the Chapter 11 Cases
contemplated by the foregoing resolutions and the successful consummation of the transactions
contemplated by the foregoing resolutions including, without limitation, any action necessary or
proper to maintain the ordinary-course operation of each of Holdings’ and Hertz’s respective
businesses; and it is further
RESOLVED, that each Authorized Officer, acting in consultation with the Corporations’ legal
and financial advisors, be, and each hereby is, authorized to execute, deliver, and perform any and
all special powers of attorney as such Authorized Officer may deem necessary or desirable to
facilitate consummation of the transactions contemplated by the foregoing resolutions, pursuant to
which such Authorized Officer will make certain appointments of attorneys to facilitate
consummation of the transactions contemplated by the foregoing resolutions as Holdings’ and
Hertz’s respective true and lawful attorneys and authorize each such attorney to execute and deliver
any and all documents of whatsoever nature and description that may be necessary or desirable to
facilitate consummation of the transactions contemplated by the foregoing resolutions; and it is
further
RESOLVED, that each Authorized Officer, acting in consultation with the Corporations’ legal
and financial advisors, be, and each of them hereby is, authorized and empowered to act without
the joinder of any other Authorized Officer in connection with the foregoing resolutions; and
RESOLVED, that all acts lawfully done or actions lawfully taken by any Authorized Officer in
accordance with the foregoing resolutions to seek relief on behalf of Holdings or Hertz under
chapter 11 of the Bankruptcy Code, or in connection with the Chapter 11 Cases or any Supporting
Foreign Proceeding, or any matter related thereto, be, and hereby are, adopted, ratified, confirmed,
and approved in all respects as the acts and deeds of Holdings or Hertz, respectively, in all respects
by the Boards; and it is further
GENERAL AUTHORIZATIONS
RESOLVED, that the directors and officers of the Corporations, including the Authorized
Officers (each, an “Authorized Person”) acting in consultation with the Corporations’ legal and
financial advisors, be, and each of them hereby is, authorized and empowered, in the name and on
behalf of Holdings and Hertz, respectively, in accordance with these resolutions, to do and
perform, or cause or authorize to be done and performed, any and all such other acts, deeds and
things and to make, execute and deliver, or cause to be made, executed and delivered, in the name
and on behalf of Holdings and Hertz, respectively, and under the seal of Holdings and Hertz,
respectively, if requested or as may be necessary or appropriate, any and all such agreements,
undertakings, documents, consents, filings or instruments, with such terms and provisions as any
such Authorized Person may approve, as such Authorized Person may deem necessary or
appropriate to effect the transactions contemplated by the foregoing resolutions, to fulfill
Holdings’ and Hertz’s obligations thereunder, or to carry out the purpose and intent of any and all
of the foregoing resolutions, the execution, delivery or performance thereof, or the taking of any
such action to be conclusive evidence of such approval and authority; and it is further
RESOLVED, that each Authorized Person, acting in consultation with the Corporations’ legal
and financial advisors, be, and each of them hereby is, authorized and empowered to act without


                                                  4
              Case 20-11218-MFW          Doc 1       Filed 05/22/20   Page 14 of 27



the joinder of any other Authorized Person in connection with the foregoing resolutions; and it is
further
RESOLVED, that all actions heretofore taken by any Authorized Person in connection with the
subject matter of any and all of the foregoing resolutions be, and each of them hereby is, approved,
ratified and confirmed in all respects as the act and deed of Holdings and Hertz, respectively,
having the same force as if performed pursuant to the direct authorization of the Boards; and it is
further
RESOLVED, that the omission from these resolutions of any agreement, document, or other
arrangement contemplated by any of the agreements, instruments, filings, or other documents
described in the foregoing resolutions or any action to be taken in accordance with any requirement
of any of the agreements, instruments, filings, or other documents described in the foregoing
resolutions shall in no manner derogate from the authority of the Authorized Person to take all
actions necessary, desirable, proper, advisable, or appropriate to consummate, effectuate, carry
out, or further the transaction contemplated by, and the intent and purposes of, the foregoing
resolutions; and it is further
RESOLVED, that the authority conferred upon any Authorized Person by these resolutions is in
addition to, and shall in no way limit, such other authority as such Authorized Person may have
with respect to the subject matter of the foregoing resolutions, and that the omission from these
resolutions of any agreement or other arrangement contemplated by any of the agreements,
contracts, instruments, or documents described in the foregoing resolutions or any action to be
taken in accordance with any requirement of any of the agreements, instruments, or documents
described in the foregoing resolutions shall in no manner derogate from the authority of any such
Authorized Person to take any and all actions convenient, necessary, advisable, or appropriate to
consummate, effectuate, carry out, perform, or further the transactions contemplated by and the
intents and purposes of the foregoing resolutions.




                                                 5
                                       Case 20-11218-MFW                               Doc 1       Filed 05/22/20              Page 15 of 27


       Fill in this information to identify the case:

       Debtor name The Hertz Corporation, et al.

       United States Bankruptcy Court for the District of Delaware

       Case number (If known):        TBD
                                                                                                                                                              Check if this is an
                                                                                                                                                                 amended filing



    Modified Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                                     12/15
    The Debtor and its debtor affiliates (collectively, the "Debtors") each filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The
    following is a consolidated list of the Debtors' creditors holding the 50 largest unsecured claims based on the Debtors' books and records estimated as
    of the petition date. This list is prepared in accordance with Bankruptcy Rule 1007(d) for filing in these chapter 11 cases. The list does not include:
    (1) persons who come within the definition of "insider" set forth in section 101 of the Bankruptcy Code; (2) secured creditors, unless the unsecured
    claim resulting from inadequate collateral value places the creditor among the holders of the 50 largest unsecured claims; or (3) claims held by the
    Debtors' employees. The information presented in the list below shall not constitute an admission of liability by, nor is binding on, the Debtors, and the
    failure to list a claim as contingent, unliquidated, disputed, or subject to setoff does not constitute a waiver of any of the Debtors' right to contest the
    validity, priority, or amount of any claim.

    Name of creditor and complete                      Name, telephone number, and             Nature of the claim   Indicate if   Amount of unsecured claim
    mailing address, including zip code                email address of creditor               (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                       contact                                 debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                               professional          unliquidated, total claim amount and deduction for value of
                                                                                               services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                               government
                                                                                               contracts)
                                                                                                                                     Total Claim,       Deduction for     Unsecured
                                                                                                                                     if partially       value of          claim
                                                                                                                                     secured            collateral or
                                                                                                                                                        setoff
                                                     Wells Fargo National Association, Wells
1   6.000% Senior Notes Due January 2028             Fargo Corporate Trust-DAPS Reorg
    Charles W. Scharf, CEO & President               Charles W. Scharf, CEO & President
                                                                                                  Unsecured Notes                                                            $900,000,000.00
    600 Fourth Street South, 7th Fl, MAC N9300-070   Phone: (800) 344-5128
    Minneapolis, MN 55415                            Fax: (866) 969-1290
                                                     Email: dapsreorg@wellsfargo.com

                                                     Wells Fargo National Association, Wells
2   5.500% Senior Notes Due October 2024             Fargo Corporate Trust-DAPS Reorg
    Charles W. Scharf, CEO & President               Charles W. Scharf, CEO & President
                                                                                                  Unsecured Notes                                                            $800,000,000.00
    600 Fourth Street South, 7th Fl, MAC N9300-070   Phone: (800) 344-5128
    Minneapolis, MN 55415                            Fax: (866) 969-1290
                                                     Email: dapsreorg@wellsfargo.com
                                                     Wells Fargo National Association, Wells
3   6.250% Senior Notes Due October 2022             Fargo Corporate Trust-DAPS Reorg
    Charles W. Scharf, CEO & President               Charles W. Scharf, CEO & President
                                                                                                  Unsecured Notes                                                            $500,000,000.00
    600 Fourth Street South, 7th Fl, MAC N9300-070   Phone: (800) 344-5128
    Minneapolis, MN 55415                            Fax: (866) 969-1290
                                                     Email: dapsreorg@wellsfargo.com
                                                     Wells Fargo National Association, Wells
4   7.125% Senior Notes Due August 2026              Fargo Corporate Trust-DAPS Reorg
    Charles W. Scharf, CEO & President               Charles W. Scharf, CEO & President
                                                                                                  Unsecured Notes                                                            $500,000,000.00
    600 Fourth Street South, 7th Fl, MAC N9300-070   Phone: (800) 344-5128
    Minneapolis, MN 55415                            Fax: (866) 969-1290
                                                     Email: dapsreorg@wellsfargo.com
                                                     Goldman Sachs Mortgage Company
5   Goldman Sachs Mortgage Co., as lender and        Department Manager
    administrative agent                             Phone: (972) 368-2746
    Department Manager                               Fax: (917) 977- 9270                          ALOC Facility           C                                                 $200,000,000.00
    200 West Street                                  Email: gs-sbdagency-
    New York, NY 10282                               borrowernotices@ny.email.gs.com, gs-
                                                     locoperations@ny.email.gs.com

    U.S. Bank, Promissory Notes
6   Andrew Cecere, Chairman, President & CEO         U.S. Bank
    21 South Street, 3rd Fl                          Andrew Cecere, Chairman, President &         Unsecured Notes                                                             $27,593,000.00
    MS: EX-NJ-WSSM                                   CEO
    Morristown, NJ 07960
                                                     IBM CORPORATION
    IBM CORPORATION
7   Thomas Buberl, CEO
                                                     Thomas Buberl, CEO
                                                     Phone: (914) 499-1900                           Trade AP                                                                 $23,475,618.59
    1 New Orchard Road
                                                     Fax: (914) 765-6021
    Armonk, NY 10504
                                                     Email: Mbrowdy@ibm.com

8   Lyft
                                                     Lyft
                                                     Logan Green, CEO, Co-Founder & Director
    Logan Green, CEO, Co-Founder & Director
                                                     Phone: (415) 264-5462                           Trade AP              D                                                  $18,600,000.00
    548 Market Street, Suite 68514
                                                     Fax: (415) 703-1758
    San Francisco, CA 94104
                                                     Email: Kristin_Sverchek@lyft.com


    Modified Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                 page 1
                                             Case 20-11218-MFW                               Doc 1   Filed 05/22/20               Page 16 of 27


     Debtor             The Hertz Corporation, et al.                                                                  Case number(if known) TBD
                       Name



     Name of creditor and complete                      Name, telephone number, and              Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code                email address of creditor                (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                        contact                                  debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                                 professional          unliquidated, total claim amount and deduction for value of
                                                                                                 services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                                 government
                                                                                                 contracts)
                                                                                                                                       Total Claim,     Deduction for      Unsecured
                                                                                                                                       if partially     value of           claim
                                                                                                                                       secured          collateral or
                                                                                                                                                        setoff


9
     AAA                                              AAA
     Tim Condon, President & CEO                      Tim Condon, President & CEO
                                                                                                       Trade AP                                                                  $9,478,447.72
     1 Auto Club Drive                                Phone: (800) 222-6424
     Dearborn, MI 48126                               Fax: (313) 584-9818



10 Fines Ford                                         Fines Ford
     Robert Fines, Principal
                                                      Robert Fines, Principal
     10 Simona Dr                                                                                        Fleet                                                                   $9,478,447.72
                                                      Phone: (905) 857-1252
     Bolton, ON L7E 4C7
                                                      Fax: (905) 857-6640
     Canada

     Travel Jigsaw
11 Gregory Wills, Managing Director                   Travel Jigsaw
     Fl's 2-4 St George's House, 56 Peter Street      Gregory Wills, Managing Director
                                                                                                       Trade AP                                                                  $8,228,426.26
     Fls 9-12, Sunlight House                         Phone: (44) 161-830-5908
     Manchester M2 3NQ                                Fax: (44) (0) 20 8612 8005
     United Kingdom

12 United Airlines
                                                      United Airlines
     Scott Kirby, Chief Executive Officer
                                                      Scott Kirby, Chief Executive Officer             Trade AP               D                                                  $7,349,998.00
     233 S. Wacker Drive
                                                      Phone: (312) 997-8000
     Chicago, IL 60606


13                                                    Deloitte
     Deloitte                                         Joseph B. Ucuzoglu, CEO (US)
     Joseph B. Ucuzoglu, CEO (US)                     Phone: (212) 492-4000
                                                                                                       Trade AP               D                                                  $7,343,854.00
     30 Rockefeller Plaza                             Fax: (212) 489-1687
     New York, NY 10112-0015                          Email:
                                                      JoeUcuzogluDeloitteUSCEO@deloitte.com


14 COMDATA
                                                      COMDATA
     Ron Clarke, CEO & Chairman
                                                      Ron Clarke, CEO & Chairman                       Trade AP                                                                  $7,282,358.50
     5301 Maryland Way
                                                      Phone: (615) 370-7000
     Brentwood, TN 37027


15 JM & A GROUP INC                                   JM & A GROUP INC
     Forrest Heathcott, President                     Forrest Heathcott, President
                                                                                                       Trade AP                                                                  $6,879,505.15
     500 Jim Moran Blvd                               Phone: (800) 553-7146
     Deerfield Beach, FL 33442                        Fax: (954) 363-4120


16 SOUTHWEST AIRLINES CO                              SOUTHWEST AIRLINES CO
     Gary C. Kelly, Chairman & CEO                    Gary C. Kelly, Chairman & CEO
                                                                                                       Trade AP               D                                                  $6,235,542.00
     2702 Love Field Drive                            Phone: (214) 792-4000
     Dallas, TX 75235                                 Fax: (214) 792-5015


17 PROS REVENUE MANAGEMENT                            PROS REVENUE MANAGEMENT
                                                      Andres Reiner, President, CEO & Director
     Andres Reiner, President, CEO & Director
                                                      Phone: (713) 335-5105                            Trade AP                                                                  $5,879,173.84
     Oakland City Center
                                                      Fax: (713) 335-8144
     Oakland, CA 94607
                                                      Email: aparrish@pros.com


18 Expedia                                            Expedia
                                                      Peter M. Kern, Vice Chairman & CEO
     Peter M. Kern, Vice Chairman & CEO
                                                      Phone: (425) 679-7200                            Trade AP                                                                  $5,324,782.56
     333 108th Ave. NE
                                                      Fax:
     Bellevue, WA 98004
                                                      Email: bdzielak@expedia.com


19 LANE VALENTE                                       LANE VALENTE
     Paul Valente, Vice President                     Paul Valente, Vice President
                                                                                                       Trade AP                                                                  $3,883,404.93
     98 Maple Ave                                     Phone: (631) 454-9100
     Smithtown, NY 11787                              Fax: (631) 454-6115


20 PLATEPASS LLC
                                                      PLATEPASS LLC
     James D. Tuton, President
                                                      James D. Tuton, President                        Trade AP                                                                  $3,803,959.23
     1150 N Alma School Rd
                                                      Phone: (877) 411-4300
     Mesa, AZ 85201




     Modified Form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                           page 2
                                            Case 20-11218-MFW                       Doc 1     Filed 05/22/20               Page 17 of 27


     Debtor             The Hertz Corporation, et al.                                                           Case number(if known) TBD
                       Name



     Name of creditor and complete                      Name, telephone number, and     Nature of the claim     Indicate if   Amount of unsecured claim
     mailing address, including zip code                email address of creditor       (for example, trade     claim is      If the claim is fully unsecured, fill in only unsecured
                                                        contact                         debts, bank loans,      contingent, claim amount. If claim is partially secured, fill in
                                                                                        professional            unliquidated, total claim amount and deduction for value of
                                                                                        services, and           or disputed collateral or setoff to calculate unsecured claim.
                                                                                        government
                                                                                        contracts)
                                                                                                                                Total Claim,     Deduction for      Unsecured
                                                                                                                                if partially     value of           claim
                                                                                                                                secured          collateral or
                                                                                                                                                 setoff


21 Hotwire                                         Hotwire
     Heather Kernahan, CEO                         Heather Kernahan, CEO
                                                                                                Trade AP               D                                                  $3,370,285.84
     45 E 20th St                                  Phone: (800) 355-5668
     New York, NY 10003                            Fax: (425) 679-7251


22 SAFELITE FULFILLMENT INC                        SAFELITE FULFILLMENT INC
     Thomas Feeney, President & CEO                Thomas Feeney, President & CEO
                                                                                                Trade AP                                                                  $3,266,064.45
     7400 Safelite Way                             Phone: (888) 393-1493
     Columbus, OH 43235                            Fax: (614) 210-9372


23 ATS PROCESSING SERVICES                         ATS PROCESSING SERVICES
                                                   Adam Draizin, President
     Adam Draizin, President
                                                   Phone: (877) 977-5771                        Trade AP                                                                  $2,953,713.82
     1150 N Alma School Rd.
                                                   Fax: (480) 907-3026
     Mesa, AZ 85201
                                                   Email: hertz@atsol.com


24 GREATER ORLANDO AVI AUTH                        GREATER ORLANDO AVI AUTH
     Phil Brown, CEO
                                                   Phil Brown, CEO
     Orlando International Airport                                                          Taxes/Concessions                                                             $2,934,226.32
                                                   Phone: (407) 825-2001
     One Jeff Fuqua Boulevard
                                                   Fax: (407) 825-2099
     Orlando, FL 32827-4392


25 DEALER DOT COM
                                                   DEALER DOT COM
     Rick Gibbs,CEO & co-founder
                                                   Rick Gibbs,CEO & co-founder                  Trade AP                                                                  $2,756,838.01
     1 Howard St
                                                   Phone: (802) 658-0965
     Burlington, VT 05401


26 PEP BOYS                                        PEP BOYS
     Brent Windom, President                       Brent Windom, President
                                                                                                Trade AP                                                                  $2,712,174.35
     3118 W Allegheny Ave                          Phone: (215) 221-6305
     Philadelphia, PA 19132                        Fax: (215) 430-4436


27 CITY OF CHICAGO
     Brent Windom, President                       CITY OF CHICAGO
     Chicago Midway International Airport          Brent Windom, President                  Taxes/Concessions                                                             $2,546,999.72
     10000 West O'Hare Ave                         Phone: (800) 832-6352
     Chicago, IL 60666


28 GERBER NATIONAL CLAIM SERVICES LLC              GERBER NATIONAL CLAIM SERVICES
     Jason Chapnik, Chairman                       LLC
                                                                                                Trade AP                                                                  $2,534,344.58
     150 Center Court                              Jason Chapnik, Chairman
     Schaumburg, IL 60195                          Phone: (866) 638-4527


29 GREATER ORLANDO AVIATION AUTH                   GREATER ORLANDO AVIATION AUTH
     Domingo Sanchez, Chairman
                                                   Domingo Sanchez, Chairman
     Orlando International Airport                                                          Taxes/Concessions                                                             $2,439,597.14
                                                   Phone: (407) 825-2001
     One Jeff Fuqua Boulevard
                                                   Fax: (407) 825-2099
     Orlando, FL 32827-4392


30 TELUS INTERNATIONAL US CORP
                                                   TELUS INTERNATIONAL US CORP
     Jeff Puritt, President
                                                   Jeff Puritt, President                       Trade AP                                                                  $2,279,801.49
     2251 South Decatur Boulevard
                                                   Phone: (702) 238-7900
     Las Vegas, NV 89102


31 BUILDRITE CONSTRUCTION CORP                     BUILDRITE CONSTRUCTION CORP
     Brian Fulghum, Vice President                 Brian Fulghum, Vice President
                                                                                                Trade AP                                                                  $2,084,899.19
     600 Chastain Road NW, Suite 326               Phone: (770) 971-0787
     Kennesaw, GA 30144                            Fax: (770) 973-7737


32
     SIRIUS XM RADIO INC                           SIRIUS XM RADIO INC
     Scott Greenstein, President                   Scott Greenstein, President
                                                                                                Trade AP                                                                  $2,000,000.00
     1221 Avenue of the Americas, 36th Fl          Phone: (212) 584-5100
     New York, NY 10020                            Fax: (212) 584-5200




     Modified Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                         page 3
                                          Case 20-11218-MFW                        Doc 1      Filed 05/22/20               Page 18 of 27


     Debtor            The Hertz Corporation, et al.                                                            Case number(if known) TBD
                      Name



     Name of creditor and complete                     Name, telephone number, and        Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code               email address of creditor          (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                       contact                            debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                          professional          unliquidated, total claim amount and deduction for value of
                                                                                          services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                          government
                                                                                          contracts)
                                                                                                                                Total Claim,     Deduction for      Unsecured
                                                                                                                                if partially     value of           claim
                                                                                                                                secured          collateral or
                                                                                                                                                 setoff


33 BRIDGESTONE/FIRESTONE INC
                                                  BRIDGESTONE/FIRESTONE INC
     Paolo Ferrari, President, CEO, COO
                                                  Paolo Ferrari, President, CEO, COO            Trade AP                                                                  $1,972,360.61
     200 4th Ave S.
                                                  Phone: (844) 659-5820
     Nashville, TN 37201


34 MAACO FRANCHISING CORPORATE LLC                MAACO FRANCHISING CORPORATE LLC
     Jonathan Fitzpatrick, President & CEO        Jonathan Fitzpatrick, President & CEO
                                                                                                Trade AP                                                                  $1,940,992.44
     440 S. Church Street, Suite 700              Phone: (704) 644-8101
     Charlotte, NC 28202                          Fax: (704) 377-9904


35 VXI GLOBAL SOLUTIONS LLC                       VXI GLOBAL SOLUTIONS LLC
     David Zhou David, Co-Founder & Co-CEO        David Zhou David, Co-Founder & Co-CEO
                                                                                                Trade AP                                                                  $1,738,720.52
     220 West 1st St., 3rd Fl                     Phone: (213) 637-1300
     Los Angeles, CA 90012                        Fax: (213) 637-1068

     TRAVELPORT LP C O BANK OF AMERICA
36 LOCKBOX                                        TRAVELPORT LP C O BANK OF AMERICA
                                                  LOCKBOX
     Gordon Wilson, President & CEO
                                                  Gordon Wilson, President & CEO                Trade AP                                                                  $1,691,377.60
     Axis One, Axis Park, 10 Hurricane Way
                                                  Phone: (+44) 1753 288000
     Langley SL3 8AG
                                                  Fax: (+44) 1753 288 001
     United Kingdom

37 AT&T                                           AT&T
     John Stankey, President & CEO                John Stankey, President & CEO
                                                                                                Trade AP                                                                  $1,684,048.44
     208 S. Akard Street                          Phone: (210) 821-4105
     Dallas, TX 75202                             Fax: (210) 351-2071


38 AMERICAN EXPRESS                               AMERICAN EXPRESS
     Mr. Squeri, Chairman & CEO                   Mr. Squeri, Chairman & CEO
                                                                                                Trade AP                                                                  $1,606,783.00
     200 Vesey Street                             Phone: (212) 640-2000
     New York, NY 10285-3106                      Fax: (623) 444-3001


39 TERADATA OPERATIONS INC                        TERADATA OPERATIONS INC
     Oliver Ratzesberger, President & CEO         Oliver Ratzesberger, President & CEO
                                                                                                Trade AP                                                                  $1,593,354.98
     17095 Via del Campo                          Phone: (866) 837-2328
     San Diego, CA 92127                          Fax: (858) 485-3567


40 INFOR (US) INC
                                                  INFOR (US) INC
     Kevin Samuelson, CEO
                                                  Kevin Samuelson, CEO                          Trade AP                                                                  $1,556,697.55
     641 Avenue of the Americas
                                                  Phone: (646) 336-1700
     New York, NY 10011


41 MASSACHUSETTS PORT AUTHORITY                   MASSACHUSETTS PORT AUTHORITY
     Lisa Wieland, CEO                            Lisa Wieland, CEO
                                                                                            Taxes/Concessions                                                             $1,545,621.40
     One Harborside Drive, Suite 200S             Phone: (800) 235-6426
     Boston, MA 02128                             Fax: (617) 561-1891


42 NISSAN                                         NISSAN
     Makoto Uchida, President & CEO               Makoto Uchida, President & CEO
                                                                                                  Fleet                D                                                  $1,489,139.60
     One Nissan Way                               Phone: (615) 725-1000
     Franklin, TN 37067                           Fax: (615) 725-8535

     Car Trawler
43 Charlie Coniglio, CEO                          Car Trawler
     Classon House, Dundrum Business Park         Charlie Coniglio, CEO
                                                                                                Trade AP                                                                  $1,333,791.45
     Dundrum                                      Phone: (+353) 1 499 9600
     Dublin 14                                    Fax: (+353) (0)1 499 9661
     Ireland

44                                                WAYNE COUNTY
     WAYNE COUNTY
                                                  Chad Newton, CEO
     Chad Newton, CEO
                                                  Phone: (734) 247-7678                     Taxes/Concessions                                                             $1,286,258.16
     11050 Rogell Drive #602
                                                  Fax: (734) 247-7343
     Detroit, MI 48242
                                                  Email: kristy.exner@wcaa.us




     Modified Form 204                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                        page 4
                                            Case 20-11218-MFW                    Doc 1      Filed 05/22/20               Page 19 of 27


     Debtor            The Hertz Corporation, et al.                                                          Case number(if known) TBD
                       Name



     Name of creditor and complete                     Name, telephone number, and      Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code               email address of creditor        (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                       contact                          debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                        professional          unliquidated, total claim amount and deduction for value of
                                                                                        services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                        government
                                                                                        contracts)
                                                                                                                              Total Claim,     Deduction for      Unsecured
                                                                                                                              if partially     value of           claim
                                                                                                                              secured          collateral or
                                                                                                                                               setoff


45 CITY AND COUNTY OF SAN FRANCISCO                  CITY AND COUNTY OF SAN FRANCISCO
     Ivar C. Satero, Director
                                                     Ivar C. Satero, Director
     San Francisco International Airport                                                  Taxes/Concessions                                                             $1,284,547.28
                                                     Phone: (650) 821-5042
     710 N McDonnell Rd
                                                     Fax: (650) 821-5005
     San Francisco, CA 94128

     ALLIED UNIVERSAL SECURITY SERVICES
46 David I. Buckham                                  ALLIED UNIVERSAL SECURITY
                                                     SERVICES
     Eight Tower Bridge
                                                     David I. Buckham                         Trade AP                                                                  $1,279,706.77
     161 Washington Street
                                                     Phone: (484) 351-1300
     Suite 600
                                                     Fax: (410) 468-3030
     Conshohocken, PA 19428

47 DENT WIZARD INTERNATIONAL CORP
     39-40/F, Oxford House
                                                     DENT WIZARD INTERNATIONAL CORP
     Taikoo Place
                                                     Phone: 86-2120802188                     Trade AP                                                                  $1,273,540.75
     979 King’s Road
                                                     Fax: 86-576-7332919
     Quarry Bay
     Hong Kong


48 AUTONATION SHARED SERVICE CENTER                  AUTONATION SHARED SERVICE
     MORAY KEITH                                     CENTER
     12100 FEATHERSTONE WAY                          MORAY KEITH                              Trade AP                                                                  $1,272,139.05
     RICHMOND, BC V6W 1K9                            Phone: 604-273-1311
     CANADA                                          Fax: 604-273-1356

     Nissan CN
49 39-40/F, Oxford House
     Taikoo Place                                    Nissan CN
     979 King’s Road                                 Phone: (+ 86) 2120802188                   Fleet                                                                   $1,262,085.17
     Quarry Bay                                      Fax: (+86) 576-7332919
     Hong Kong

50
     Dueck Richmond
                                                     Dueck Richmond
     Moray Keith
                                                     Moray Keith
     12100 Featherstone Way                                                                     Fleet                                                                   $1,260,945.00
                                                     Phone: (604) 273-1311
     Richmond, BC V6W 1K9
                                                     Fax: (604) 273-1356
     Canada




     Modified Form 204                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                   page 5
                  Case 20-11218-MFW                    Doc 1        Filed 05/22/20            Page 20 of 27




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


 In re                                                                        Chapter 11

 The Hertz Corporation, et al.,1                                              Case No. 20-[____] ( )

                                                                              (Joint Administration Requested)
                                                Debtors.


                   CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                    PURSUANT TO FED. R. BANKR. P. 1007(a)(1) AND 7007.1

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

attached hereto as Exhibit I is an organizational chart reflecting all of the ownership interests in

The Hertz Corporation (“Hertz”) and its affiliated debtors, who are each debtors and debtors in

possession in the above-captioned cases (collectively, the “Debtors”). Hertz, on behalf of itself

and the Debtors, hereby states as follows:

          1.        The following entities own ten percent (10%) or more of the equity interests of

Hertz Global Holdings, Inc. (“Hertz Global”):2

                Name                                            Address                                     Shares (%)

                                              Icahn Associates Holdings LLC
          Carl C. Icahn 3                                                                                     38.89%
                                        16690 Collins Avenue Sunny Isles, FL 33160.



1 T he last four digits of T he Hertz Corporation’s tax identification number are 8568. T he location of the debtors’ service address

is 8501 Williams Road, Estero, FL 33928. Due to the large number of debtors in these chapter 11 cases, for which joint
administration for procedural purposes has been requested, a complete list of the debtors and the last four digits of their federal tax
identification numbers is not provided herein. A complete list of such information may be obtained on the website of the debtors’
proposed claims and noticing agent at https://restructuring.primeclerk.com/hertz.

2 T his is based on information regarding beneficial share ownership obtained from the Debtors’ Notice of Annual Meeting and

Proxy Statement dated March 27, 2020. T his list serves as the disclosure required to be made by Hertz Global pursuant to Rule
1007(a)(1) of the Federal Rules of Bankruptcy Procedure. By separate motion filed contemporaneously herewith, Hertz Global is
requesting a waiver of the requirement under Rule 1007(a)(3) to file a list of all of its equity security holders.

3 Mr. Icahn, Icahn Partners LP, Icahn Master Fund LP, High River Limited Partnership, Icahn Onshore LP, Icahn Capital LP, IPH

GP LLC, Icahn Enterprises Holdings L.P., Icahn Enterprises G.P. Inc., Beckton Corp., Icahn Offshore LP, Hopper Investments
LLC and Barberry Corp., to the knowledge of the Company, are each deemed to have beneficial ownership, as such term is defined
                  Case 20-11218-MFW                  Doc 1         Filed 05/22/20        Page 21 of 27



         2.        Hertz Global owns one hundred percent (100%) of the equity interests of Rental

Car Intermediate Holdings, LLC, which in turn owns one hundred percent (100%) of the equity

interests of Hertz.

         3.        Hertz owns one hundred percent (100%) of the equity interests of the following

entities:

                       a. Hertz Transporting, Inc.;

                       b. Hertz Aircraft, LLC;

                       c. Firefly Rent A Car LLC;

                       d. Donlen Corporation;

                       e. Hertz Technologies, Inc.;

                       f. Hertz Car Sales LLC;

                       g. Hertz System, Inc.;

                       h. Smartz Vehicle Rental Corporation;

                       i.   Hertz Global Services Corporation;

                       j.   Hertz Local Edition Corp.; and

                       k. Rental Car Group Company, LLC;

         4.        Donlen Corporation owns one hundred percent (100%) of the equity interests of the

following entities:

                       a. Donlen FSHCO Company; and

                       b. Donlen Mobility Solutions, Inc.




for purposes of Rule 13d-3 of the Securities Exchange Act of 1934, over more than 5% of the voting securities of the debtor that
are held by the following entities: Icahn Partners LP, Icahn Master Fund LP and High River Limited Partnership.


                                                               2
              Case 20-11218-MFW           Doc 1       Filed 05/22/20   Page 22 of 27



        5.      Donlen FSHCO Company owns one hundred percent (100%) of the equity interests of

Donlen Fleet Leasing Ltd.

        6.      Hertz Local Edition Corp. owns one hundred percent (100%) of the equity interests

of Hertz Local Edition Transporting, Inc.

        7.      Rental Car Group Company, LLC owns one hundred percent (100%) of the equity

interests of Dollar Thrifty Automotive Group, Inc., which in turn owns one hundred percent

(100%) of the equity interests of the following entities:

                   a. DTG Operations, Inc.;

                   b. Dollar Rent A Car, Inc.; and

                   c. Thrifty, LLC

        8.      DTG Operations, Inc. owns one hundred percent (100%) of the equity interests of

DTG Supply, LLC.

        9.      Thrifty, LLC owns one hundred percent (100%) of the equity interests of the

following entities:

                   a. Thrifty Car Sales, Inc.; and

                   b. Thrifty Rent-A-Car System, LLC

        10.     Thrifty Rent-A-Car System, LLC owns one hundred percent (100%) of the equity

interests of the following entities:

                   a. TRAC Asia Pacific, Inc.; and

                   b. Dollar Thrifty Automotive Group Canada, Inc.

        11.     Dollar Thrifty Automotive Group Canada, Inc. owns one hundred percent (100%)

of the equity interests of DTG Canada Corp.




                                                  3
             Case 20-11218-MFW          Doc 1       Filed 05/22/20    Page 23 of 27



       12.     Hertz International, Ltd. (a non-debtor) owns one hundred percent (100%) of the

equity interests of Hertz Holdings Netherlands B.V. (a non-debtor).

       13.     Hertz Holdings Netherlands B.V. (a non-debtor) owns one hundred percent (100%)

of the equity interests of CMGC Canada Acquisition ULC.

       14.     CMGC Canada Acquisition ULC owns one hundred percent (100%) of the equity

interests of Hertz Canada Limited.




                                                4
Case 20-11218-MFW   Doc 1   Filed 05/22/20   Page 24 of 27




                      Exhibit I

                (Organizational Chart)
                                                                                                                                                                                                                                                            Hertz
                                                                                                                                                                                                                                                           Global

                                                                                                              Case 20-11218-MFW                                                                 Doc 1                       Filed 05/22/20                Holdings,
                                                                                                                                                                                                                                                         Inc. (DE) R                 Page 25 of 27
                                    Hertz Global Holdings, Inc.                                                                                                                                                                                          Rental Car
                                                                                                                                                                                                                                                        Intermediate
                                                                                                                                                                                                                                                       Holdings, LLC



                             and its Debtor and Non-Debtor Affiliates
                                                                                                                                                                                                                                                            (DE)


                                                                                                                                                                                                                                                          The Hertz
                                                                                                                                                                                                                                                         Corporation
                                                                                                                                                                                                                                                            (DE)



                                        Hertz              Hertz              Firefly        Hertz           Navigation                                Hertz          Executive            Hertz        Hertz Corp. Ctr.      Hertz                                   Hertz         Smartz Vehicle       Hertz                Hertz           Hertz             Hertz         Hertz Global          Hertz            Rental Car
                                                                                                                                   Donlen                                                                                                          HIRE
                  HVF II GP Corp     Transporting,        Aircraft,         Rent A Car    Vehicle Sales      Solutions                             Technologies,      Ventures           Car Sales      Prop. Owners’        System,                              International        Rental        Dealership One          Funding         Vehicle           General         Services          Local Edition         Group
                                                                                                                                 Corporation                                                                                                    (Bermuda)
                       (DE)               Inc.              LLC                LLC         Corporation         LLC                                      Inc.             Ltd.              LLC            Ass’n, Inc.          Inc.                                    Ltd.          Corporation          LLC                 Corp.         Financing          Interest       Corporation           Corp.           Company, LLC
                                                                                                                                  (Illinois)                                                                                                      Limited
                                         (DE)              (DE)                (DE)           (DE)             (DE)                                    (DE)             (DE)               (DE)           (Florida) N          (DE)                                   (DE)              (DE)              (DE)                (DE)          LLC (DE)          LLC (DE)            (DE)              (DE)               (DE)



                                       Donlen              Hertz            Hertz Fleet                                                                                                                                                                                                                                                       Hertz                                               Hertz Local        Dollar Thrifty
                   Hertz Vehicle                                                                                                Donlen Mobility       DNRS
                                       FSHCO            Fleet Lease       Lease Funding     Donlen                                                                     DNRS                                                                                                                                                                  Vehicles                                               Edition          Automotive
                  Financing II LP                                                                                               Solutions, Inc.       II LLC
                                      Company           Funding LP            Corp.        Trust (DE)                                                                 LLC (DE)                                                                                                                                                                 LLC                                               Transporting,       Group, Inc.
                      (DE) E                                                                                                       (Illinois)          (DE)
                                        (DE)               (DE) J             (DE)                                                                                                                                                                                                                                                            (DE)                                                 Inc.(DE)              (DE)



                                                                                                              Dan Ryan              Hertz              Hertz             Hertz            Hertz NL         Hertz Holdings                        Hertz Puerto         Hertz
                                     Donlen Fleet                                         Hertz Claim                                                                                                                       Hertz Do Brazil
                                                                                                             Car Rentals         New Zealand        Asia Pacific      Asia Pacific        Holdings          Netherlands                         Rico Holdings,     Investments
                                     Leasing, Ltd                                         Management                                                                                                                             Ltda.
                                                                                                                Limited            Holdings           Pte. Ltd         (Japan),             Inc.                 BV                                  Inc.               Ltd.
                                      (Canada)                                            S.L. (Spain)                                                                                                                         (Brazil) P
                                                                                                              (Ireland) O          Limited          (Singapore)           Ltd              (DE)            (Netherlands)                        (Puerto Rico)          (DE)



                                                                                                               Tourism              Hertz
                                    Donlen Canada     Donlen Canada                                                                                                                                                                                Puerto
                                                                                                              Enterprises        New Zealand
                                     Fleet Funding         Fleet                                                                                                                                                                               Ricancars, Inc.
                                                                                                               Limited             Limited
                                      Corporation      Funding LPS                                                                                                                                                                             (Puerto Rico)
                                                                                                            (New Zealand)       (New Zealand)



  International        Hertz             Hertz               Hertz              Apex                        Hertz Car Rental    Hertz Investment                                            Hertz                                                                 Hertz Claim        Hertz Claim                             Hertz            Hertz         Hertz Europe
                                                                                              Hertz                                                  Hertz Fleet    Hertz Finance                        Hertz Belgium                          Stuurgroep                                           CMGC Canada                                                            Hertz Holdings       Hertz de
Fleet Financing    International        France        International RE       Processing                       Consulting         (Holdings) Pty.                                         Luxembourg                         Hertz Italiana                        Management        Management                           Autopujcovna     Management       Service Centre
                                                                                           Asia Pacific    (Shanghai) Co. Ltd
                                                                                                                                                       Limited      Centre Limited                            B.V.                              Holland B.V.                                         Acquisition ULC                                                        III UK Limited      Espana S.L.
    No. 2 BV       Treasury Ltd          SAS                Limited            Limited                                               Limited                                                S.a.r.l.                            S.r.l.                              B.V.B.A.            B.V.                                 s.r.o.       Services Sarl.       Limited
                                                                                           Korea Ltd.           (China)                               (Ireland)       (Ireland)                            (Belgium)                           (Netherlands)                                            (Canada)                                                                 (U.K.)           (Spain)
 (Netherlands)       (Ireland)         (France)            (Ireland)          (Ireland)                                            (Australia)                                          (Luxembourg)                                                               (Belgium)        (Netherlands)                        (C. Republic)    (Switzerland)       (Ireland)



     FCT                                               Probus Insurance                                                                                                                                                      Hertz Fleet                                             Stuurgroep                             Hertz
                                                       Company Europe                                                           Hertz Australia                                                           Hertz Claim                            Van Wijk            Hertz                                                                                                                      Hertz Claim          Hertz UK
  Yellow Car                                                                                                                                                                                                                 (ITALIANA)                                                 Fleet        Hertz Canada       Autopozicovna                                         Hertz (U.K.)
                                                              DAC                                                                Pty. Limited                                                             Management                            Beheer B.V.      Automobielen                                                                                                                  Management         Receivables Ltd
  (France)Q                                                                                                                                                                                                                      S.r.l.                                             (Netherlands)       Limited              s.r.o.                                             Limited
                                                           (Ireland)                                                              (Australia)                                                              S.r.l. (Italy)                      (Netherlands)     Nederland B.V.                                                                                                                Limited (U.K.)         (U.K.)
                                                                                                                                                                                                                               (Italy) A                                                 BV                               (Slovakia)



                                                                                                                                                       Hertz             Hertz                                                                   Van Wijk                                            Hertz Canada      3216173 Nova
                                                                                          ACE Rentals       HA Lease Pty.         Hertz Note                                            HA Fleet Pty.                                                                              HC Limited                                              HC (N.S.)       Hertz Accident                                          Hertz Vehicle
                                                                                                                                                   Superannuation   Asia Pacific Pty.                                                         European Car-                                          Finance Co.,         Scotia                                             Daimler Hire      Hertz Europe
                                                                                          Cars Pty. Ltd         Ltd.            Issuer Pty. Ltd.                                            Ltd.                                                                                   Partnership                                             Company          Support Ltd.                                          Financing U.K.
                                                                                                                                                      Pty. Ltd.           Ltd.                                                                Rental Serv. BV                                             Ltd.           Company                                            Limited (U.K.)     Limited (U.K.)
                                                                                           (Australia)       (Australia)           (Australia)                                           (Australia)
                                                                                                                                                                                                                                               (Netherlands)                       (Canada) C                                             (Canada) L          (U.K.) K                                            Limited (U.K.)
                                                                                                                                                     (Australia)       (Australia)                                                                                                                     (Canada)          (Canada)



                                    Hertz Claim           Hertz
                    Hertz                                                 RAC Finance,                      Hertz Claim                                                                                                                                                            HC Vehicles                              DTG           Dollar Rent A                                                             Rental Car
                                    Management       Autovermietung                       Eileo SAS                                                                                                                                                                                                                                                                          Thrifty, LLC
                   Monaco                                                     SAS                          Management                                                                                                                                                              Partnership                         Operations, Inc.      Car, Inc.                                                             Finance LLC
                                       GmbH              GmbH                              (France)                                                                                                                                                                                                                                                                          (Oklahoma)
                    SAM                                                    (France) H                     S.A.S. (France)                                                                                                                                                            (DE) B                             (Oklahoma)         (Oklahoma)                                                              (Oklahoma)
                                     (Germany)         (Germany)



                                                                                                                                                                                                                                                                                                                                                                                Thrifty       Thrifty Rent-A-
  A: 51% Hertz Italiana S.r.L.; 49% HHNBV                                                                                                                                                                                                                                          HCE Limited                          DTG Supply,                         Thrifty Car
                                                                                                                                                                                                                                                                                                                                                                              Insurance        Car System,
                                                                                                                                                                                                                                                                                   Partnership                              LLC                             Sales, Inc.
                                                                                                                                                                                                                                                                                                                                                                            Agency, Inc.            LLC
  B: 50% HC Limited Partnership (LP); 49.95% Hertz Canada Limited (LP); 0.05% Hertz Canada (N.S.) Company (GP)                                                                                                                                                                      (Canada) D                           (Oklahoma)                        (Oklahoma)
                                                                                                                                                                                                                                                                                                                                                                             (Arkansas)        (Oklahoma)
  C: 98% Hertz Canada Limited (LP); 1% Hertz Canada (N.S.) Company (GP); 1% 3216173 Nova Scotia Company (GP)
  D: 99.999990%% HC Vehicle Partnership (LP); 0.0000048% each - Hertz Canada Limited (LP) and Hertz Canada (N.S.) Company (GP)
                                                                                                                                                                                                                                                                                                                                                                                Trac                              Dollar Thrifty
  E: 99.9% THC; 0.1% HVF GP II                                                                                                                                                                                                                                                                                                                                              Asia Pacific,                          Automotive
                                                                                                                                                                                                                                                                                                                                                                             Inc. (UAE)                          Group Canada
  F: 99.999% TCL Funding LP (LP); 0.001% 2232560 Ontario Inc. (GP)                                                                                                                                                                                                                                                                                                          (Oklahoma)                           Inc. (Canada)
  G: 99.99% DTAG Canada Inc. (GP); 0.01% 2240919 Ontario Inc. (LP)
  H: 1 share held by The Hertz Funding France Trust (Hertz France SAS: 99.972973%; Hertz Funding France Trust: 0.027027%)
  J: 99.5% Donlen Corporation (LP); 0.5% Hertz Fleet Lease Funding Corp. (GP)                                                                                                                                                                                   Key                                                                                         2240919
                                                                                                                                                                                                                                                                                                                                                           Ontario, Inc.
                                                                                                                                                                                                                                                                                                                                                                             2232560
                                                                                                                                                                                                                                                                                                                                                                            Ontario, Inc.
                                                                                                                                                                                                                                                                                                                                                                                             TCL Funding LP
                                                                                                                                                                                                                                                                                                                                                                                                                                      DTG Canada
                                                                                                                                                                                                                                                                                                                                                                                                                                         Corp.
                                                                                                                                                                                                                                                                                                                                                                                               (Canada) G
  K: f/k/a CCL Vehicle Rentals, Ltd.                                                                                                                                                                                                                                                                                                                        (Canada)         (Canada)                                                  (Canada)

  L: f/k/a 3198872 Nova Scotia Company
  M: 99.9% Hertz International Ltd. (LP); 0.1% Hertz NL Holdings, Inc. (GP)                                                                                                                                                                                                       Debtor Entity                                                                                              DTGC Car Rental,
                                                                                                                                                                                                                                                                                                                                                                                                   LP
  N: Nonprofit entity under FL law serving as association governing plots of land owned in Estero                                                                                                                                                                                                                                                                                              (Canada) F
  O: 50% HIL; 50% THC
  P: THC owns 2 shares of Hertz do Brazil                                                                                                                                                                                                                                         Non-Debtor Affiliate
  Q: FCT is a French SA licensed as a portfolio management company and is not owned by Hertz (part of French ABS)
  R: f/k/a Hertz Rental Car Holding Company, Inc.
  S: 99% Donlen Fleet Leasing Ltd. (LP); 1% Donlen Canada Fleet Funding Corporation
             Case 20-11218-MFW        Doc 1    Filed 05/22/20     Page 26 of 27




                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


In re                                                Chapter 11

The Hertz Corporation,                               Case No. 20-[____] ( )

                                                     (Joint Administration Requested)
                                Debtor.


                      LIST OF EQUITY SECURITY HOLDERS OF
                            THE HERTZ CORPORATION

       Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the above-
captioned debtor and debtor in possession (the “Debtor”) respectfully represents that the
following is the list of holders of the Debtor’s sole class of equity or membership interests:

        EQUITY HOLDER                 ADDRESS OF EQUITY HOLDER                PERCENTAGE
                                                                                OWNED
Rental Car Intermediate Holdings,          8501 Williams Road,                   100%
               LLC                           Estero, FL 33928
                                Case 20-11218-MFW                   Doc 1           Filed 05/22/20                 Page 27 of 27

 Fill in this information to identify the case and this filing:


              The Hertz Corporation
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a                  Consolidated Corporate Ownership Statement and List of Equity Security Holders
              declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    05/22/2020
        Executed on ______________                         8 /s/ Jamere Jackson
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Jamere Jackson
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Executive Vice President and Chief Financial Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
